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Pierce Bainbridge Beck Price & Hecht LLP
Carolynn K. Beck (SBN 264703)
cbeck@piercebainbridge.com

600 Wilshire Boulevard, Suite 500

Los Angeles, California 90017-3212

 

 

(213) 262-9333
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
Alfonso Ribeiro, an individual, CASE NUMBER

2118- CV- 10417 RGK (ASX)
Plaintiff(s),

 

v.
Take-Two Interactive Software, lnc.', ZK Sports, Inc.', ZK
Games, lnc.', Visual Concepts Entertainment', and Does 1

NOTICE OF DISMISSAL PURSUANT
TO FEDERAL RULES OF CIVIL

through 50, inclusive,
Defemam($)l PROCEDURE 41(a) or (c)

 

PLEASE TAKE NOTICE: (Check one)
|§{ This action is dismissed by the Plaintiff(s) in its entirety.

|:| The Counterelaim brought by Claimant(s) is
dismissed by Claimant(s) in its entirety.

|:| The Cross-Claim brought by Claimants(s) is
dismissed by the Claimant(s) in its entirety.

|:| The Third-party Claim brought by Claimant(s) is
dismissed by the Claimant(s) in its entirety.

|:| ONLY Defendant(s)

 

 

is/are dismissed from (check one) |:| Complaint, |:| Counterelaim, |:| Cross-claim, |:| Third-Party Claim
brought by

 

The dismissal is made pursuant to F.R.Civ.P. 41(a) or (e).

§§ - m § <
February 25, 2019 C ap

Date Signatare ofA ttorney/Parzy

 

 

NOTE: F.R. Civ.P. 41 (a): This notice may be filed at any time before service by the adverse party of an answer or of a motion for
summary judgment, whichever first occurs

FR.Civ.P. 41 (c).' Counterclaims, cross-claims & third-party claims may be dismissed before service of a responsive
pleading or prior to the beginning of trial.

 

CV-09 (03/10) NOTICE OF DISMISSAL PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE 41(a) or (c)

